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                          UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA                )                                      PLAINTIFF
                                        )
      v.                                )    CASE No. 1:22-mj-00270-RMM
                                        )
BRENNAN CLINE MACHACEK                  )                                   DEFENDANT

                      ORDER ON UNCONTESTED MOTION TO
                      CONTINUE STATUS CONFERENCE DATE

        ORDERED that the Defense Uncontested Motion to Continue Status

Conference is GRANTED; the hearing is continued to Apr. 13, 2023 at 1:00pm; it is

      FURTHER ORDERED that the Speedy Trial Act shall be tolled until the new

status conference date of Apr. 13, 2023, in the interests of justice.

      The parties shall appear at the next hearing via zoom.

      SO ORDERED.                                                  Digitally signed by G.
                                                                   Michael Harvey
                                                                   Date: 2023.03.09
                                                                   15:45:22 -05'00'

                                               G. MICHAEL HARVEY
DATE:                                          United States Magistrate Judge
